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Citation to Discover Assets to a Third Party (Rev. 12/19/14) CCM 0124B

 

ANSWER OF THIRD PARTY RESPONDENT CITATION

This first section must be filled out by the judgment creditor,
. . i A _ Court Date: 7 -CV- OTS \ $
SSN. XX caN A . : Case No CBG ZOIT 2

ent B

This is a Citation: Freeze up to double the Judgment Balance

 
 

 

Citation/Respondent:
Defendant's Name Denne

    

udem

 

 

INTERROGATORIES

1. On the date of service of the vation you have in your possession, cusipdy or control any personal property or monies belonging

to the judgment debtor? [4 Yes ° account close

lp THE ANSWER 18 “VES” GO TO THE NEXT QUESTION. Ip “NO”, GO TO THE INSTRUCTIONS,

 

 

2 Is thisan IRA account? Or have all of the deposits made during the past 90 days been electronically deposited and identified as exempt
Social Security, Unemployment Compensation, Pt hic Assistance, Veteran's Benefits, Pension or Retirement or by a source drawing
from any other statutory exemptions: ClYes No

Te THE ANSWER IS “VES” GO TO THE NEXT QUESTION, IF “NO”, GO TO THE INSTRUCTISQ#.
3. IsfAre the account(s) current balance(s) equal to or less than the total of the exempt deposits? Yes No
le YOU ANSWERED “vES” TO ALL THREE (3) QUESTIONS AND FUNDS IN THE ACCOUNT(S) ARE EXEMPT, DO NOT FREEZE THE FUNDS.
Go TO THE “INSTRUCTIONS” BELOW.
4. ACCOUNT BALANCE AMOUNT WITHHELD

Bee:
LF
‘“\

 

Savings Account
Check/MMA/Plow Account
Certificate gf Deposit

D. Trust AcgBunt/Ocher

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E. Sajey Deposic Ll Yes Cc] No wv a
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fand Trust No. o 2
Less Right of Offset for Loans fo $ f.

- a) 5) .
w Tota, AMOUNT FROZEN: >

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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List all electronic deposits into account(syand their source(s) except deposits: /
Account No. Jf Source Mopthly Amount f
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f. wa f
v /
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G. List all joint account holé's or adverse claimants: Z
yr Y i
Name 7 Name L Name Zé
Address L£. Address L Address f.
Zo. f-
Account Iniypacon: Account Information: Account Inforpfacion:
Type: I Zhecking ©) CD Savings Type: © Checking [J CD Savings ‘Type: SI) Ghecking €1 CD Savings
SD Account Number eam GM Account Nembers ona Cl Account Numbers cee ene
INSTRUCTIONS

C1.) Fill out and sign the certification below. (2.) This Answer must be filed at leasr three (3) days before the court date to assure timely
processing. (3,) Fax or mail a copy of this Answer to @) the Court, (ii) Plaintiffs attorney and (iii) Judgment Debtor, If filing in the First
Municipal District, you may fax to (312) 603-6522 or mail to the Clerk of the Court, Richard J. Daley Center, 50 W. Washington Street,
Room 602, Chicago, IL 60602. (4.) You will receive a copy of a Court Order by fax or mail instructing you how to proceed and where to
send any withheld funds,

 

 

CERTIFICATION
Under the penalties as provided by law pursuance to Section 1-109 of the code of Civil Procedure, the undersigned certifies that the state-

ments set obey 5 ony are true and correct and that | have mailed this Answer to Defendant(s).
Date: ‘ .
ae: __.________-Bank of America : Gabriel K. Mecham

Respondent Name:

 

Print Agent Name

Address: _ ne wt n Operations 4

City/State/Zip Code: "JE5-024-02-08 (CC |, —

‘Telephone: 0, BOX 15047 J fr =
r: . WITIFIQTON, be rS86C / Signature of Agent
ae 243-580-0702

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Page 2 of 2
FAX 617-310-2751

 

 

 

 

 

 
